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                       THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES COMMODITY                          §
FUTURES TRADING COMMISSION,                      §
                                                 §
                   Plaintiff,                    §
                                                 §
v.                                               §          Civil Action No. A-12-CV-0862-LY
                                                 §
SENEN POUSA, INVESTMENT                          §
INTELLIGENCE CORPORATION,                        §
DBA PROPHETMAX MANAGED FX,                       §
JOEL FRIANT, MICHAEL DILLARD, and                §
ELEVATION GROUP, INC.,                           §
                                                 §
                   Defendants.                   §

                                   JOINT STATUS REPORT
       Comes now, the United States Commodity Futures Trading Commission (the “CFTC”) and

Guy M. Hohmann, the Court-appointed Receiver in the above-referenced ProphetMax

Receivership matter and the ancillary IB Capital matter and file this their Joint Status Report.

       1.      The last status report filed by the Receiver in this proceeding was on September 16,

2019. This report shall address events occurring after that date.

       2.      The Receiver was recently made aware that settlement discussions between the

Dutch Public Prosecutor’s Office (“DPPO”) and Emade Echadi (“Echadi”) and Michel Geurkink

(“Geurkink”) (collectively, the “Individual Defendants”) had reached an impasse and were no

longer occurring. Consequently, it became apparent there is very little likelihood the Individual

Defendants will be entering into agreements which would result in the frozen assets being

repatriated to the Receivership estate.
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          3.      For that reason, the Receiver filed his Original Complaint Naming Relief

Defendants (the “Complaint”)1 on September 20, 2019. The defendants in that action are all

persons or entities that are affiliated with the entities or individuals that received approximately

USD $21 million in funds that were misappropriated from IB Capital. The defendants named in

the Complaint are set forth below:

                  a.   Maverick Venture Capital Holding Ltd.
                  b.   Riknik & Sons, Ltd.
                  c.   Zsofia Dobos
                  d.   Randius, Ltd.
                  e.   Jennifer Marie Weare
                  f.   Neotex Advanced, Ltd.
                  g.   Essadia Moutaouakkil
                  h.   Rabiaa Moutaouakkil

          4.      All the defendants except for Jennifer Marie Weare reside in or are domiciled in

foreign jurisdictions. Jennifer Weare is believed to be a resident of Massachusetts. Service of

process for all the international defendants has been, or is being, made pursuant to the Hague

Convention.

          5.      On September 30, 2019, the Court of Appeal at the Hague (the “Dutch Court”)

entered an interim decision on the Receiver’s complaint against the EUR 775,000,000 settlement

between ING Bank NV (“ING”) and the Dutch state. The attorney-general on behalf of the DPPO

had argued in her briefing the Receiver lacked standing to challenge the settlement. The Court held

in its interim decision the Receiver was an “interested party” in the proceedings because he

“represents parties injured as a consequence of the (obviously punishable) acts of ING.”

          6.      The Dutch Court’s interim decision also noted its desire to be provided access to

the DPPO’s file relating to its investigation of ING. After reviewing the file, the Dutch Court will



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    U.S. Commodity Futures Trading Commission v. Senen Pousa, et al., and Maverick Venture Capital Holding Ltd.,
    et al., Case No. 1:19-CV-930-LY.

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determine which documents will be made available to the Receiver and his Dutch counsel. A

further hearing has been scheduled before the Dutch Court on December 18, 2019.

       7.      On October 25, 2019, the Receiver, through his retained United Kingdom counsel,

initiated a proceeding in London, England to restore IB Capital and Maverick to the Registry of

Companies in order to address ING’s previous basis for not wiring to the receiver the approximate

USD $7 million in funds from the accounts of IB Capital and Maverick presently on deposit with

ING.

       8.      On November 5, 2019, the Receiver filed a Motion for Turnover Order and

Supplemental Relief (the “Turnover Motion”) seeking to require ING to wire transfer the funds in

the accounts of IB Capital referenced in paragraph seven (7) above. Due to certain confidential

information in the Turnover Motion and its exhibits, the Receiver filed a Motion to Seal the filing.

In the proposed Order submitted with the Turnover Motion, ING would be given seven days (7)

from the date the Turnover Order is signed to wire transfer the funds to the Receiver.



                                               Respectfully submitted,

                                               GUY HOHMANN

                                               By: /s/ Guy Hohmann
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                                               RECEIVER FOR THE PROPHETMAX AND
                                               IB CAPITAL RECEIVERSHIP ESTATES




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                             CERTIFICATE OF SERVICE

        On October 8, 2019, I electronically submitted the foregoing document with the clerk
of the court of the U.S. District Court, Western District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all counsel and/or pro se parties
of record electronically or by another manner authorized by Federal Rule of Civil Procedure
5(b)(2).

                                           /s/ Guy Hohmann
                                           Guy Hohmann




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